   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 1 of 22




                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 RENE COLON PEREZ, his wife
 PRISCILLA BACO BAGUE and the
 conjugal partnership between them
 Plaintiffs/Counter-Defendants              CIVIL 17-2170CCC
 vs
 METAN MARINE, INC.; MICHAEL J.
 BORRELLI
 Defendants/Counter-Claimants


                            OPINION AND ORDER

      Before the Court are defendants Metan Marine Restoration, Inc. (“Metan
Marine”) and Michael J. Borrelli’s (together the “defendants”) Motion to Dismiss
the Amended Complaint for Lack of Personal Jurisdiction or for Venue Transfer
(d.e. 7) filed on November 7, 2017 and plaintiffs’ René Colón Pérez (“Colón”),
his wife Priscila Bacó Bagué (“Bacó”) and the conjugal partnership between
them’s (together the “plaintiffs”) Opposition to Motion to Dismiss (d.e. 11). For
the reasons set forth below, defendants’ Motion to Dismiss or for Venue
Transfer is DENIED, in part, and GRANTED, in part.
              FACTUAL AND PROCEDURAL BACKGROUND
      This action involves the restoration of a classic Bertram boat (the
“vessel”). Plaintiffs hired Metan Marine to restore the vessel largely because
of their familial relationship with Borrelli, director of Metan Marine and domestic
partner of the mother of Colón and Bacó’s son’s fiancée. The parties met in
February 2016, prompting Borrelli to visit Puerto Rico to inspect the vessel later
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 2 of 22




CIVIL 17-2170CCC                        2

that month. During this visit, Borrelli and Colón negotiated the Statement of
Work (the “contract”) and agreed to Metan Marine restoring the vessel. During
the following months, Borrelli and Colón coordinated the transportation of the
vessel to Jacksonville, Florida, where Borrelli picked it up and took it to Metan
Marine’s facilities in Massachusetts.       Metan Marine determined that the
vessel’s hull needed to be replaced, which required additional work and
expenses. Colón consented to this change, but Borrelli allegedly increased the
price of other components in the process without consulting the vessel owners
and the project also took longer than Borrelli represented.
      On September 1, 2017, Colón and Bacó sued Metan Marine and Borrelli.
Their complaint was amended on October 30, 2017, after Colón wired Borrelli
a portion of the project’s cost and Borrelli allegedly failed to provide sufficient
evidence of the progress achieved to validate the delay. They brought claims
sounding in breach of contract under Puerto Rico law against defendants for
unilaterally changing the price of the vessel’s restoration, destroying it in the
process, and negligently or willfully misrepresenting Metan Marine’s ability to
restore it. d.e. 6, ¶¶ 31-51). They also brought a breach of contract claim
under admiralty law. (d.e. 6, ¶¶ 52-55).
      On November 11, 2017, Borrelli and Metan Marine moved to dismiss for
lack of personal jurisdiction and due to insufficient contacts, in the alternative,
to change venue to the District of Massachusetts. They also claim that
Massachusetts is convenient for the parties, witnesses, and in the interest of
justice because that is where the Metan Marine employees who worked on
     Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 3 of 22




CIVIL 17-2170CCC                        3

Colón’s vessel are, the vessel itself is still in Metan Marine’s facilities in
Massachusetts, and the consultants who recommended replacing its hull are
in Rhode Island and New Jersey.
       Plaintiffs’ opposition of December 1, 2017 argues that this Court has
personal jurisdiction over defendants. Plaintiffs contend that Borrelli’s trip to
Puerto Rico to inspect the vessel and his emails to Colón show he purposefully
availed himself of the laws of Puerto Rico by conducting business here and are
sufficiently related to their underlying claims. As to venue change, they
contend that litigating in Massachusetts is not convenient enough to warrant
altering their choice of forum.
                                  DISCUSSION
I.     Personal Jurisdiction
       A.   Legal Standard
       “To hear a case, a court must have personal jurisdiction over the parties,
‘that is, the power to require the parties to obey its decrees.’” Astro-Med,
Inc. v. Nihon Kohden America, Inc. 591 F.3d 1, 8 (1st Cir. 2009) (quoting
United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 35 (1st Cir. 1999)).
Personal jurisdiction comes in “two varieties, general and specific. General
personal jurisdiction … is broad in its ambit: it is the power of a forum-based
court … over a defendant ‘which may be asserted in connection with suits not
directly founded on [that defendant's] forum-based conduct . . .’).” Pritzker v.
Yari, 42 F.3d 53 (1st Cir. 1994) (citing Donatelli v. National Hockey League,
893 F.2d 459, 462-63 (1st Cir. 1990)). “General jurisdiction exists when the
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 4 of 22




CIVIL 17-2170CCC                        4

litigation is not directly founded on the defendant's forum-based contacts, but
the defendant has nevertheless engaged in continuous and systematic activity,
unrelated to the suit, in the forum state.” United Elec. Workers v. 163 Pleasant
St. Corp., 960 F.2d 1080, 1088 (1st Cir. 1992).
      “Specific personal jurisdiction, by contrast, is narrower in scope and may
only be relied upon ‘where the cause of action arises directly out of, or relates
to, the defendant's forum-based contacts.’” Pritzker v. Yari, 42 F.3d at 60
(quoting United Elec. Workers, 960 F.2d at 1088-89). When determining
whether a federal court may assert specific jurisdiction over foreign parties,
“[t]he Supreme Court has held that the Due Process Clause of the Fourteenth
Amendment limits the power of a court to render a valid personal judgment
against a nonresident defendant.” Eon Corp. v. AT&T Mobility, LLC,
879 F. Supp. 2d 194, 201 (D.P.R. 2012) (referring to Goodyear Dunlop Tires
Operations, S.A. v. Brown, 564 U.S. 915, 131 S. Ct. 2846, 2853, 180 L. Ed. 2d
796 (2011); World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 291,
100 S. Ct. 559, 62 L. Ed. 2d 490 (1980)). Consequently, “[t]he proper exercise
of specific [personal] jurisdiction hinges on satisfaction of two requirements:
[1], that the forum in which the federal district court sits has a long-arm statute
that purports to grant jurisdiction over [] defendant; and [2], that the exercise
of jurisdiction pursuant to that statute comports with the strictures of the
Constitution.” Pritzker, 42 F.3d at 60 (referring to Ticketmaster-New York, Inc.
v. Alioto, 26 F.3d 201, 204 (1st Cir. 1994); United Elec., Radio and Mach.
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 5 of 22




CIVIL 17-2170CCC                       5

Workers of America v. 163 Pleasant Street Corp., 960 F.2d 1080, 1086
(1st Cir. 1992); Hahn v. Vermont Law Sch., 698 F.2d 48, 51 (1st Cir. 1983).
      This diversity suit also involves a federal question given plaintiffs’
assertion of admiralty claims (d.e. 6, ¶¶ 52-55). For admiralty claims, “[t]he
limits on the court's personal jurisdiction are based in the Due Process clause
of the Fifth Amendment, not in the Fourteenth Amendment as is true for
diversity cases.” Zeus Projects Ltd. v. Perez y Cia. de Puerto Rico, Inc.
187 F.R.D. 23, 28-30 (D.P.R. 1999) (referring to 163 Pleasant Street, 960 F.2d
at 1085; Lorelei Corp. v. County of Guadalupe, 940 F.2d 717, 719
(1st Cir. 1991); Toledo v. Ayerst–Wyeth Pharmaceutical, Inc., 852 F. Supp. 91,
102 (D.P.R. 1993); Colon v. Gulf Trading Co., 609 F. Supp. 1469,
1472 (D.P.R. 1985)). Nonetheless, “ultimately there is no practical difference
in the way in which the Court proceeds towards its determination” of whether
there is specific jurisdiction because “the defendant[s] must be served pursuant
to a federal statute or Civil Rule.” Zeus Projects Ltd, 187 F.R.D. at 28-30;
see also Bohnenberger v. MCBC Hydra Boats, LLC, 2017 WL 397656,
*4 (D. Mass. 2017). Given there is no federal statute providing for service on
defendants, courts “return[] to the familiar realm of minimum contacts, the
long-arm statute, and the Fourteenth Amendment.” Zeus Projects Ltd,
187 F.R.D. 23 at 29.
      The First Circuit has repeatedly held that Puerto Rico’s long-arm statute
is “coextensive with the reach of the Due Process Clause.” Carreras v. PMG
Collins, LLC., 660 F.3d 549, 552 (1st Cir. 2011); see also Pritker, 42 F.3d
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 6 of 22




CIVIL 17-2170CCC                       6

at 60. Whether asserting specific jurisdiction over Borrelli and Metan Marine
comports with Due Process thus depends on the nature of their contacts with
Puerto Rico and whether these were sufficient to give them “fair warning” that
they could be sued there.         See Burger King Corp. v. Rudzecwicz,
471 U.S. 462, 472, 105 S. Ct. 2174, 2182, 85 L. Ed. 2d 528 (1985).
      To make this determination, courts conduct a tripartite analysis. See
Massachusetts Sch. of Law at Andover, Inc. v. American Bar Ass'n,
142 F.3d 26, 35 (1st Cir. 1998); Ticketmaster, 26 F.3d at 206:
      First, an inquiring court must ask whether the claim that undergirds
      the litigation directly relates to or arises out of the defendant's
      contacts with the forum. Second, the court must ask whether
      those contacts constitute purposeful availment of the benefits and
      protections afforded by the forum's laws. Third, if the proponent's
      case clears the first two hurdles, the court then must analyze the
      overall reasonableness of an exercise of jurisdiction in light of a
      variety of pertinent factors that touch upon the fundamental
      fairness of an exercise of jurisdiction. An affirmative finding on
      each of the three elements of the test is required to support a
      finding of specific jurisdiction.
Afunday Charters, Inc. v. Spencer Yachts, Inc., 261 F. Supp. 3d 257
(D.P.R. 2017) (citing Phillips Exeter Acad. v. Howard Phillips Fund,
196 F.3d 284, 288 (1st Cir. 1999)).
      Since defendants moved to dismiss for lack of personal jurisdiction under
Rule 12(b)(2), “the plaintiff[s] ultimately bear[] the burden of persuading the
court that jurisdiction exists.” Astro-Med, Inc. v. Nihon Kohden America, Inc.,
591 F.3d 1, 8 (1st Cir. 2009). An evidentiary hearing was not held, so the
“plaintiff need only make a prima facie showing that defendants are subject to
personal jurisdiction.”   Eon Corp., 879 F. Supp. 2d at 201.        The Court
     Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 7 of 22




CIVIL 17-2170CCC                       7

“accept[s] the plaintiff's (properly documented) evidentiary proffers as true for
the purpose of determining the adequacy of the prima facie jurisdictional
showing.” Astro-Med, Inc., 591 F.3d at 8 (quoting Adelson v. Hananel,
510 F.3d 43, 49 (1st Cir. 2007)). It “accept[s] those facts as true, irrespective
of whether the defendant disputes them, and in so doing, construe[s] them in
the light most congenial to the plaintiff's jurisdictional claim… The facts put
forward by the defendant ‘become part of the mix only to the extent that they
are uncontradicted.’” Id.     “Once it has been decided that a defendant
purposefully established minimum contacts within the forum State, these
contacts may be considered in light of other factors to determine whether the
assertion of personal jurisdiction would comport with ‘fair play and substantial
justice.’” Burger King Corp., 471 U.S. at 477, 105 S. Ct. at 2184, 85 L. Ed. 2d
528 (1985) (quoting “International Shoe Co. v. Washington, 326 U.S. at 320,
66 S. Ct. at 160.).
       The Court now turns to the constitutional analysis.
B.     General Jurisdiction
       Colón and Bacó did not argue that Borrelli or Metan Marine have the
ongoing and continuous contacts required for general jurisdiction. Nor could
they – Metan Marine is a Massachusetts corporation with its principal place of
business in Massachusetts. (d.e. 7, p. 11). The company is not authorized to
do business in Puerto Rico, has never had offices in Puerto Rico, does not own
or use property in Puerto Rico, has never had any directors or employees
domiciled in Puerto Rico, does not have bank accounts in Puerto Rico, and has
     Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 8 of 22




CIVIL 17-2170CCC                        8

never contracted with Puerto Rico residents until Colón and Bacó. Id. Borrelli
in turn is a Massachusetts resident who does not own or use property in Puerto
Rico and has no bank accounts in Puerto Rico. Id. The Court does not have
general jurisdiction over Borrelli or Metan Marine.
C.     Specific Jurisdiction
       We begin our analysis by evaluating Borrelli and Metan Marine’s
“minimum contacts related to the plaintiff’s claims.” See International Shoe
Co., 326 U.S. at 316, 66 S. Ct. at 160, 90 L. Ed. 95. Contrary to defendants’
position, we note from the outset that Borrelli’s contacts with Puerto Rico can
be imputed to Metan Marine.         See Jet Wine & Spirits, Inc. v. Bacardi,
298 F.3d 1, 7-8 (1st Cir. 2002) (stating: “[plaintiff] may rely in whole or in part
on actions imputed to [corporate defendant] through its agents—as indeed it
must, because any action legally attributed to a corporation is that of one agent
or another.”); see also Int’l Shoe Corp, 326 U.S. at 316-317 (stating: “since the
corporate personality is a legal fiction…, it is clear that … ‘presence’ without,
as well as within, the state . . . can be manifested only by activities carried on
its behalf by those who are authorized to act for it”).1
       Borrelli’s contacts also serve as a basis for jurisdiction over him
individually given that he was personally involved in the alleged breaches of
contract and tortious conduct. See Alvarado-Morales v. Digital Equipment


       1
       The case defendants rely on, Platten v. HF Bermuda Exempted Ltd.,
437 F.3d 118 (1st Cir. 2006), involves whether a subsidiary’s employee’s acts
may be imputed on the corporate principal for jurisdictional purposes, not the
acts of the corporation’s officer an agent as in the instant case.
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 9 of 22




CIVIL 17-2170CCC                        9

Corp., 843 F.2d 613, 617 (1st Cir. 1988) (finding jurisdiction over the individual
officers or directors of a corporation cannot be imputed from jurisdiction over
the corporation, absent independent, personal involvement).
      1.    Relatedness
      Relatedness “asks whether ‘the claim[s] underlying the litigation . . .
directly arise out of, or relate to, the defendant's forum-state activities.’”
Astro-Med, Inc., 591 F.3d 1, 9 (quoting N. Laminate Sales, Inc. v. Davis,
403 F.3d 14, 25 (1st Cir. 2005)). “There must be more than just an attenuated
connection between the contacts and the claim; the defendant's in-state
conduct must form an ‘important, or [at least] material, element of proof’ in the
plaintiff's case.” Phillips v. Prairie Eye Center, 530 F.3d 22, 27 (1st Cir. 2008)
(quoting Harlow, 432 F.3d at 61). In this Circuit, “[t]he relatedness test is a
‘flexible, relaxed standard.’” Adelson, 652 F.3d at 81 (1st Cir. 2011) (quoting
N. Laminate Sales, Inc. v. Davis, 403 F.3d 14, 25 (1st Cir. 2005)).
      As to Colón and Bacó’s breach of contract claims, the Court looks at
whether “the defendant's activity in the forum state was instrumental either in
the formation of the contract or its breach.” Adams v. Adams, 601 F.3d 1, 6
(1st Cir. 2010). Since their tort claim alleges willful or negligent deceit related
to the restoration contract, “the two claims are sufficiently connected that the
difference is of no concern.” See Phillips, 530 F.3d at 27; see also Jet Wine
& Spirits, Inc., 298 F.3d at 10 (noting that when an intentional tort involves the
formation of a contract “the two inquiries begin to resemble each other.”).
  Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 10 of 22




CIVIL 17-2170CCC                       10

      Borrelli made several contacts with Puerto Rico in relation to the vessel’s
restoration that are material to plaintiffs’ proof. He visited Puerto Rico to
inspect the vessel on February 26, 2019. (d.e. 7, ¶ 17). Plaintiffs provided
seven email messages showing Borrelli reached out to them in Puerto Rico
during the subsequent four months to finalize the terms of their agreement.
(d.e. 11-2, ¶ 5). Borrelli contacted Colón from his email account at Metan
Marine to provide him pictures and videos of Metan Marine’s past
engagements, a proposal for the vessel’s restoration, and a quote to
coordinate its transportation from Puerto Rico to Jacksonville, FL. All of
Borrelli’s contacts were done on behalf of Metan Marine and for the purpose
of negotiating and executing the contract. These contacts were integral to the
formation of the contract and also formed part of his alleged deceit. Where a
defendant’s contacts with Puerto Rico were integral to the formation of a
contract, they are related to plaintiff’s claims. See Rodriguez v. Dixie Southern
Indus., Inc., 113 F. Supp. 2d 242, 251-52 (D.P.R. 2000).
      The Court finds that Borrelli and Metan Marine’s contacts with Puerto
Rico satisfy the relatedness test.
      2.    Purposeful Availment
      This factor focuses on whether “defendant's in-state contacts [] represent
a purposeful availment of the privilege of conducting activities in the forum
state, thereby invoking the benefits and protections of that state's laws and
making the defendant's involuntary presence before the state's courts
foreseeable.” Astro-Med, Inc., 591 F.3d at 10 (quoting N. Laminate Sales,
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 11 of 22




CIVIL 17-2170CCC                         11

403 F.3d at 25). “The cornerstones upon which the concept of purposeful
availment rest[s] are voluntariness and foreseeability.” Daynard, 290 F.3d
at 61 (quoting Sawtelle v. Farrell, 70 F.3d 1381, 1392 (1st Cir. 1995)).
“Voluntariness requires that the defendant's contacts with the forum state
‘proximately result from actions by the defendant himself’…The contacts must
be deliberate, and not based on the unilateral actions of another party…
Foreseeability requires that the contacts with the forum state be of a nature
that the defendant could reasonably anticipate being hailed into court there.”
Adams, 601 F.3d (quoting Phillips, 530 F.3d at 28).
      Colón submitted a sworn statement alleging that Borrelli made “constant
unsolicited approaches” to restore his vessel and that “on his own initiative and
without [their] request or approval, decided to … fly to Puerto Rico [to] inspect
the vessel.” (d.e. 11-1 ¶¶ 6-7). Borrelli refutes this assertion, averring that it
was Colón and his son who approached him to restore the vessel. (d.e. 7-1,
¶ 17). At this juncture, the Court cannot definitively tell whether defendants’
contacts with Puerto Rico resulted from plaintiffs’ unilateral activity. Given that
plaintiff’s assertions are supported, the Court must take them as true, even
when Borrelli refutes them. Astro-Med, Inc., 591 F.3d at 8. Even if plaintiffs
potentially started discussions of the vessel’s restoration with Borrelli, Borrelli’s
continued correspondence to finalize a proposal, complete the transaction,
request payments, and facilitate the vessel’s transportation from San Juan to
Florida (d.e. 11-2, ¶¶ 3, 5) “do[] not amount to the kind of unilateral action that
makes the forum-state contacts involuntary.” See Nowak v. Tak How
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 12 of 22




CIVIL 17-2170CCC                       12

Investments, Ltd., 94 F.3d 708, 717 (1st Cir. 1996). Thus, the Court finds that
defendants’ contacts with Puerto Rico were voluntary for purposes of personal
jurisdiction.
      Borrelli’s voluntary visit to Puerto Rico and his subsequent emails to
finalize the proposal does not end the purposeful availment inquiry. The Court
must determine whether these contacts with Puerto Rico are sufficient for the
defendants to have foreseen the possibility of being sued in Puerto Rico.2
      This district has found foreseeability of being sued in Puerto Rico for
breach of contract against an individual defendant where the CEO’s contacts
with Puerto Rico were instrumental in the formation of the contract. See Zeus
Projects Ltd., 187 F.R.D. at 32. Borrelli’s trip to inspect the vessel and
negotiation of the contract were sufficient contacts for him to reasonably have
anticipated being sued individually in Puerto Rico.
      In terms of Metan Marine, this district has found foreseeability to be sued
in Puerto Rico against a corporation when the underlying contract entailed
ongoing contacts with Puerto Rico throughout the agreement. See, e.g. New
Comm Wireless v. SprintCom, Inc., 213 F. Supp. 2d 61 (D.P.R. 2002) (finding
defendants could foresee being sued in Puerto Rico where Roaming Service


      2
         Plaintiff’s reference to Metan Marine’s profile on Better Business Bureau
is irrelevant to the Court’s analysis (d.e. 11, p. 9). Colón and Bacó do not
allege relying on the website in hiring Metan Marine for their vessel’s
restoration. This purported contact with Puerto Rico is not related to any of
their claims, failing the first prong of the personal jurisdiction analysis. See,
e.g. Carreras v. PMG Collins, LLC, 660 F.3d 549, 554 (1st Cir. 2011) (finding
contacts that have no bearing on formation or breach of an agreement
immaterial to a claim of specific jurisdiction).
  Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 13 of 22




CIVIL 17-2170CCC                       13

Agreement was a long-term contract required in order for defendants to provide
services within Puerto Rico). Similarly, when the nature of the contract entails
a substantial connection to Puerto Rico, defendant can foresee being sued
there. See Pritzker, 42 F.3d at 62. The contract at issue does not share either
of these characteristics.    The contract was to be performed entirely in
Massachusetts and the nature of the agreement did not require further
contacts with Puerto Rico apart from communications with Colón.
      These communications into Puerto Rico are by themselves insufficient
for Metan Marine to have foreseen being sued there. See Phillips v. Prairie
Eye Ctr., 530 F.3d 22, 29 (1st Cir. 2008) (stating:“[i]t stretches too far to say
that [corporate defendant], by mailing a contract with full terms to
Massachusetts for signature and following up with three e-mails concerning the
logistics of signing the contract, should have known that it was rendering itself
liable to suit in Massachusetts.”). Borrelli’s promotion of Metan Marine’s
services by emailing Colón past restoration projects alone are also insufficient
for Metan Marine to have foreseen litigation in Puerto Rico. See Carreras v.
PMG Collins, LLC, 660 F.3d 549, 555-56 (1st Cir. 2011) (finding that marketing
communications targeting forum that are not part of a broad marketing effort
does not meet the ‘purposeful availment’ element of specific jurisdiction).
      However, courts “look to evidence of telephone or electronic
communication when a defendant has not been physically present in the forum
state because it serves as evidence that the defendant ‘reached into the
forum.’” Adams, 601 F.3d at 7 (quoting Swiss Am. Bank, 274 F.3d at 622)
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 14 of 22




CIVIL 17-2170CCC                        14

(emphasis added). In this case, the Court “must look beyond [] formalistic
measures and evaluate the nature of the contacts and, relatedly, the degree
to which they represent a purposeful availment of the forum's protections and
benefits.” Pritzker, 42 F.3d at 62. Additionally, foreseeability has been met for
a breach of contract claim when defendant derives economic benefits from the
forum. See Pritzker, 42 F.3d at 62-63.
      The Court finds that Borrelli’s visit to Puerto Rico to inspect the vessel,
integral to the formation of the contract, in addition to his subsequent electronic
communications to Puerto Rico on behalf of Metan Marine, are significant
contacts for the company to have foreseen being sued there.              With the
formation of the restoration contract taking place in Puerto Rico and Colón’s
payments coming from Puerto Rico, Metan Marine derived a monetary benefit
from there. The need to return the vessel to Puerto Rico, although unclear
which party ultimately beard responsibility for it, also suggests Metan Marine
should have anticipated some contact with Puerto Rico until that occurrence.
      Addressing plaintiffs’ claim of negligent or willful deceit, “[t]he threshold
showing for purposeful availment is lower in the tort context for the simple
reason that a tortfeasor does not often purposely avail himself of the
protections of the laws of a forum state… Even so, a tort plaintiff must make
some showing as to voluntariness and foreseeability to ensure ‘that personal
jurisdiction is not premised solely upon a defendant's random, isolated, or
fortuitous contacts with the forum state.’ Rodriguez v. Samsung Electronics
Co., Ltd., 827 F. Supp. 2d 47, 52 (quoting Sawtelle, 70 F.3d at 1391). Plaintiffs
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 15 of 22




CIVIL 17-2170CCC                        15

have made such a showing. The aforementioned analysis of the voluntary
nature of Borrelli and Metan Marine’s contacts applies to plaintiffs’ tort claim.
In terms of determining the foreseeability of plaintiffs’ tort claim, Colón and
Bacó allege that Borrelli’s statements “induced them to believe Defendants
would restore their Vessel to mint condition” and that they “feel they were
fooled and taken advantage of by someone they trusted.” (d.e. 6, ¶¶ 43, 46).
Plaintiffs assert in essence that Borrelli’s alleged misrepresentations caused
their pecuniary harm. Borrelli and Metan Marine thus could foresee that the
effects of their alleged misrepresentations would be felt by plaintiffs in Puerto
Rico and that they consequently could be sued there. See Saturn Mgmt.
LLC v. GEM-Atreus Advisors, LLC, 754 F. Supp. 2d 272, 280 (D. Mass. 2010).
The Court finds that plaintiffs have made a prima facie showing for the
‘purposeful availment’ factor for their breach of contract and tort claims.
      3.    Reasonableness
      “Once a prima facie showing is made with respect to the existence of
minimum contacts, it becomes the defendant's burden to demonstrate that the
assertion of jurisdiction would be unreasonable.”         Rivera v. Bank One,
145 F.R.D. 614, 625 (D.P.R. 1993).           To determine whether exercising
jurisdiction over a non-resident defendant is reasonable courts consider a set
of ‘gesalt factors’. See Astro-Med, 591 F.3d at 10. These factors include “the
defendant's burden of appearing, the forum state's interest in adjudicating the
dispute, the plaintiff's interest in obtaining convenient and effective relief, the
interstate judicial system's interest in obtaining the most efficient resolution of
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 16 of 22




CIVIL 17-2170CCC                        16

the controversy, and the shared interest of the several States in furthering
fundamental substantive social policies.” Burger King Corp., 471 U.S. at 477.
“The factors serve to assist the court in achieving substantial justice. In a close
case, they can tip the constitutional balance of the court's analysis.” Mohajer
v. Monique Fashions, 945 F. Supp. 23, 28 (D.P.R. 1996) (referring to
Ticketmaster, 26 F.3d at 209).
      Plaintiffs have shown that Borrelli and Metan Marine’s burden of
appearing in Puerto Rico would not make jurisdiction over them unreasonable.
As evidenced from his email communications with Colón, Borrelli travels on
business for Metan Marine’s projects. (d.e. 11-2). The First Circuit has held
that “the need to travel to New York and Puerto Rico creates no especially
ponderous burden for business travelers.” Pritzker, 42 F.3d at 64. With daily
flights available between Boston and Puerto Rico typically an hour longer than
flights between New York and Puerto Rico, Borrelli and Metan Marine would
not be unduly burdened by appearing in Puerto Rico. Puerto Rico’s interest in
adjudicating this dispute is sufficient given its interest in providing redress to
its residents when they have been injured. See Rivera, 145 F.R.D. at 625;
see also Sawtelle, F.3d 1381 at 1395. Since plaintiffs reside and work in
Puerto Rico, it is clearly more convenient for them to litigate the case here. See
Rivera, 145 F.R.D. at 625. Neither party provides a significant social policy
that weighs heavily in either direction. Given that the majority of the potential
witnesses are located in or near Massachusetts, the defendants have shown
      Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 17 of 22




CIVIL 17-2170CCC                         17

that the most efficient resolution of this controversy would be ensured if the
case were litigated there; this factor favors Borrelli and Metan Marine.
        After balancing the relative significance of each factor, defendants have
not met their burden of showing that it would violate due process to subject
them to suit in this jurisdiction.
        Nonetheless, the court agrees with defendants that it would be more
efficient to resolve the dispute in Massachusetts. Having established sufficient
contacts for purposes of personal jurisdiction, the Court finds that changing the
venue to the District of Massachusetts would be convenient and in the interest
of justice. See Albion v. YMCA Camps Letts, 171 F.3d 1, 2 (1st Cir. 1999)
(finding that transfer of venue under Section 1404(a) is inappropriate where
there is absence of personal jurisdiction).
II.     Transfer of Venue
        A.    Legal Standard
        Section 1404(a) allows “a district court to transfer any civil action to any
other district or division where it might have been brought” “for the convenience
of the parties and witnesses” and “in the interest of justice.” 28 U.S.C.
§ 1404(a). “A determination of venue under § 1404(a) lies in the sound
discretion of the district court.” Rivera-Carmona v. American Airlines,
639 F. Supp. 2d 194, 197 (D.P.R. 2009). “In the typical case not involving a
forum-selection clause, a district court considering a § 1404(a) motion . . . must
evaluate both the convenience of the parties and various public-interest
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 18 of 22




CIVIL 17-2170CCC                        18

considerations.” Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of
Texas, 134 S. Ct. 568, 581, 187 L. Ed. 2d 487 (2013).
        Among the private interest factors to consider, the Supreme Court has
listed “the relative ease of access to sources of proof; availability of compulsory
process for attendance of unwilling, and the cost of obtaining attendance of
willing, witnesses . . .; and all other practical problems that make trial of a case
easy,     expeditious   and    inexpensive.”     Gulf   Oil   Corp.    v.   Gilbert,
330 U.S. 501, 508, 67 S. Ct. 839, 91 L. Ed. 1055 (1947) (superseded by
statute on other grounds). Public interest factors to consider include the
administrative difficulties that follow for courts when litigation is piled up in
congested centers instead of being handled at its origin; that jury duty is a
burden that ought not to be imposed upon the people of a community which
has no relation to the litigation; and that there is a local interest in having
localized controversies decided at home. See Id. at 508-09, 67 S. Ct. 839.
These factors are not exhaustive and merely suggest the range of relevant
considerations. Royal Bed & Spring Co. v. Famossul Industria e Comercio de
Moveis Ltda., 906 F.2d 45, 52 (1st Cir. 1990).
        “The burden of proof rests with the party seeking transfer as there is a
strong presumption in favor of the plaintiff's choice of forum.” Rivera-Carmona,
639 F. Supp. 2d at 197.
     Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 19 of 22




CIVIL 17-2170CCC                         19

B.     Analysis
       “Since ‘transfer [according to § 1404(a)] must be to a jurisdiction where
the action could have been brought in the first place’ the court will, as a
threshold matter, inquire as to whether jurisdiction and venue are proper in the
transferee court.” Marel Corp. v. Encad Inc., 178 F. Supp. 2d 56 (D.P.R. 2001)
(quoting     Reyes     v.   Supervisor        of   Drug   Enforcement   Admin.,
834 F.2d 1093, 1095 (1st Cir. 1987). “[Courts] are not required to determine
the best venue, merely a proper venue.” Astro-Med, Inc., 591 F.3d at 12.
       Undoubtedly, this case could have been brought in the District of
Massachusetts.       The instant action involves diverse parties and alleges
damages of $654,000.00, giving the District of Massachusetts subject matter
jurisdiction over the case. The District of Massachusetts also has personal
general jurisdiction over defendants, as Borrelli resides in Massachusetts and
Metan Marine is a Massachusetts corporation with its principal place of
business there. (d.e. 6, ¶¶ 5-6). Venue in the District of Massachusetts is also
proper under the general venue statute 28 U.S.C. § 1391(b)(1) given that both
defendants reside in Massachusetts.
       Having met these threshold issues, the Court addresses the remaining
factors and finds that defendants have met their burden.
       1.    Convenience of the Parties
       Colón and Bacó are correct that usually there is a “strong presumption
in favor of the plaintiff’s choice of forum.” Astro-Med, Inc. v. Nihon Kohden
Am., Inc., 591 F.3d 1, 13 (1st Cir. 2009). Nonetheless, “if the operative events
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 20 of 22




CIVIL 17-2170CCC                         20

did not take place in the plaintiffs' chosen district, then courts generally place
less importance on this factor . . . even where . . . plaintiffs reside[] there.”
Demers, Jr. v. Pilkington N. Am., Inc., No. 10-CV-296-JL, 2010 WL 4683780,
at *6 (D.N.H. Nov. 10, 2010); see also Moore’s § 111.13[1][c][iii]. “[T]he situs
of the operative events in a lawsuit generally bears on the transfer decision []
insofar as it impacts the other factors, such as the location of witnesses and
evidence.” Id.
        The defendants provide the following operative events which weigh in
favor of transfer: the performance of the restoration contract took place in
Massachusetts; all renovation work on plaintiff’s vessel took place in
Massachusetts; any purported breach took place in Massachusetts; the vessel
itself is still in Massachusetts; and all of defendants’ employees who worked
on the vessel and who would be material witnesses are in Massachusetts.
        2.      Convenience of the Witnesses and Private Interest Factors
        When considering a motion to transfer venue, “[t]he most important factor
in deciding whether to transfer an action is the convenience of witnesses.”
Demers, Jr., 2010 WL at *6; see also Bowen v. Elanes New Hampshire
Holding, LLC, 166 F. Supp. 3d 104, 108-109 (D. Mass. 2015); Atari v. UPS,
Inc., 211 F. Supp. 2d 360, 362 (D. Mass. 2002). Including the parties, there
are a total of thirteen witnesses. Only two of them, plaintiffs, reside in Puerto
Rico.        Plaintiff’s son, who would testify on the initiation of the parties’
negotiation, resides in Massachusetts. From the remainder of the potential
witnesses, plaintiffs will likely call all those who worked on the vessel or were
   Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 21 of 22




CIVIL 17-2170CCC                        21

involved in recommending to replace its hull, seven in total. As already
indicated, all of defendants’ employees who worked on the vessel’s restoration
and are likely material witnesses, four in total, are all located in Massachusetts.
      Importantly, district courts give the convenience for non-party witnesses
even greater weight. See., e.g. Aquatic Amusement Assocs., Ltd. v. Walt
Disney World Co., 734 F. Supp. 54, 57 (N.D.N.Y. 1990); Nieves v. American
Airlines, 700 F. Supp. 769, 772 (S.D.N.Y. 1988); Zinky Elecs., LLC v. Victoria
Amplifier Co., No. CIV.A. 09-CV-26JCH, 2009 WL 2151178, at *4 (D. Conn.
June 24, 2009).     Three non-party witnesses, two who consulted on the
restoration project, and the lead designer, reside in Rhode Island and New
Jersey, respectively. It is more convenient for the Rhode Island residents to
commute to the district court in Massachusetts, by train or driving, than
traveling to Puerto Rico, which requires either a connecting flight or commuting
to Massachusetts to fly to San Juan. Should they need to testify, the Rhode
Island residents would be unable to return to their workplace or home after
participating in proceedings if forced to travel to Puerto Rico. And although
flying from New Jersey to Puerto Rico is not so burdensome, it is considerably
cheaper to drive from New Jersey to Massachusetts. When taking these
witnesses in to consideration, this factor weighs strongly in favor of transfer.
Discovery for these non-party witnesses would also be more economical for
both parties if the case were litigated in Massachusetts, which furthers the
factor of trying the case inexpensively.
  Case 3:17-cv-02170-CCC Document 43 Filed 04/04/18 Page 22 of 22




CIVIL 17-2170CCC                         22

      The Court need not go further. Taking these factors into account,
transferring the case to Massachusetts serves the interests of justice.
                                CONCLUSION
      For the reasons stated, defendants’ motion (d.e. 7) is DENIED, as to the
request for dismissal, and GRANTED, as to the request to transfer venue to
the District of Massachusetts. The clerk SHALL forthwith transfer venue to that
District and close the action in ours.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 4, 2018.



                                              S/CARMEN CONSUELO CEREZO
                                              United States District Judge
